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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                  Plaintiffs,           )
                                        )                  4:05CR3060
           V.                           )
                                        )
FERNANDO NUNEZ,                         )
                                        )                     ORDER
                  Defendant.            )

     IT IS ORDERED that David F. Eaton’s motion to withdraw (filing 115) is denied.

     February 5, 2007.                 BY THE COURT:

                                       S/ Richard G. Kopf
                                       United States District Judge
